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ClickZ (https://www.clickz.com/) ClickZ Intelligence (https://www.clickz.com/intelligence) ClickZ Learn

Google’s Pure Spam Manual Action: Matt
(https://www.theadbl.com/clickz) ClickZ Live (http://www.clickzlive.com/)



Cutts on How to Fix it
header-ad-slot
SEO (https://searchenginewatch.com/category/seo/) 19 Aug 13 | Jennifer Slegg
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      to/2289830/googles-pure-spam-manual-action-matt-cutts-on-how-to-ﬁx-it)0
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      pure-spam-manual-action-matt-cutts-on-how-to-ﬁx-it)0
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Author’s Note: This is the ﬁrst in a weekly series detailing speciﬁc spam warnings that webmasters might ﬁnd displayed
in Google Webmaster Tools manual action viewer (http://searchenginewatch.com/article/2288103/Google-Webmaster-
Tools-Adds-Manual-Actions-Viewer-to-Show-When-Your-Site-is-Penalized), the types of things that are ﬂagging each
warning, and what webmasters should do to ﬁx it to see the warning removed.
Google has released a series of seven videos designed to help webmasters resolve speciﬁc types of spam issues that
have been identiﬁed on their site. With Google Webmaster (https://searchenginewatch.com/sew/how-
to/2191991/google-webmaster-tools-an-overview) Tools oﬀering more speciﬁc details about why a website might be
penalized, these videos are designed to help you know exactly what kind of manual spam action your site has been
impacted by, and the speciﬁc steps you can take to correct the issues in Google’s eyes.


What is Pure Spam?
Google considers pure spam to be anything to spam that anyone with a bit of tech savviness can tell that it spam.
Often called “black hat”, Cutts said this includes such things as “auto generated gibberish, cloaking, scraping,
throwaway sites, or throwaway domains, where someone is more or less doing churn and burn where they are creating
as many sites as possible to make as much money as possible before the get caught.”

Cutts said this is that type of spam that Google takes the most action against. He added that it’s rare for people to
actually ﬁle reconsideration requests for sites that are classiﬁed as pure spam, because many webmasters approach
them as churn and burn.

For example, here’s an image of auto-generated spam site Cutts included in a blog post a number of years ago:




                                      Image Credit: Matt Cutts Blog (http://www.mattcutts.com/images/spam-site.png)


Fixing Pure Spam on a New Website
Sometimes there are legitimate cases where site owners have purchased the domain only to discover that there is a
huge amount of spam in the domain’s history, making it diﬃcult for a new owner to then create something legitimate
on that domain. People can look up a domain’s history on archive.org and see what kind of spam issues had been
happening, so it will become a priority to ensure that the new owner is starting with a clean slate with none of the
spam content anywhere to be seen.

If this sort of thing happened to you, you must take special care to ensure that the new site you’re putting on the
previously spamming domain is high quality and nothing that could be remotely confused with being spammy. You
essentially need to create actions within the site that gives Google signals that the site is now trustworthy and should
be included in the index.


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        tests its own user ratings for movies (https://searchenginewatch.com/2016/12/15/google-tests-its-own-user-
ratings-for-movies/)
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How
0    to use data to justify SEO ﬁxes (https://searchenginewatch.com/2016/12/14/how-to-use-data-to-justify-seo-
ﬁxes/)

6 SEO Experiments That Will Blow Your Mind (https://searchenginewatch.com/2016/12/13/6-seo-experiments-that-
will-blow-your-mind/)

Fixing        Pure
The Rise of Emoji        Spam
                  and Google’s         onMovement
                               Mobile-First an Existing            Website
                                                  (https://searchenginewatch.com/2016/12/05/the-rise-of-emoji-
and-googles-mobile-ﬁrst-movement/)
If your site has been ﬂagged as being pure spam, this is probably one of the more diﬃcult spam ﬂags to overcome,
because it is reserved for the spammiest of websites. That means, when you ﬁle your reconsideration request, you
need to ensure that there is nothing anywhere on the site that could be remotely considered spam.

When you’re trying to clean up, ensure everything that violate the Google webmaster
(https://searchenginewatch.com/sew/how-to/2191991/google-webmaster-tools-an-overview) guidelines has been
removed, and that the quality guidelines are being followed to the letter. You should look at it from the perspective of
building an entirely new site with new quality content.

Cutts said it’s important for webmasters who are trying to clean up from a pure spam warning that they document
everything they do, whether it is having purchased the domain from a previous owner, discovering and then removing
spam you didn’t realize existed on your site, or just simply not knowing better when you created what you thought was
a fabulous auto-generated site.

When you ﬁnally ﬁle a reconsideration request, be sure that you include the steps you took to clean it up and when, so
that Google can investigate and decide if the site has really turned over a new leaf.

Learn More: Google Spam

      Pure Spam: What Are Google Penalties & What to Do to Recover
      (http://searchenginewatch.com/article/2276498/Pure-Spam-What-Are-Google-Penalties-What-to-Do-to-
      Recover)
      What is ‘Pure Spam’? 10 Examples From Google (http://searchenginewatch.com/article/2286153/What-is-Pure-
      Spam-10-Examples-From-Google)
      The Legacy of Spam (http://searchenginewatch.com/article/2261953/The-Legacy-of-Spam)


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most-important-search-marketing-news-stories-of-
the-week-13/)
Content marketing for 2017; why social media is the preferred channel for product launches; and how to use an Exact
Match Domain (EMD) without being penalised

Industry (https://searchenginewatch.com/category/industry/) More News
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                    (https://searchenginewatch.com/2016/11/29/are-you-using-too-many-questions-in-your-


headlines/)


Are you using too many questions in your headlines?
(https://searchenginewatch.com/2016/11/29/are-you-
using-too-many-questions-in-your-headlines/)
It’s been said that there are no stupid questions. But are there stupid question headlines?

Content (https://searchenginewatch.com/category/content/) SEO (https://searchenginewatch.com/category/seo/) 29
Nov 16 | Danny Goodwin (https://searchenginewatch.com/author/danny/)
                   (https://searchenginewatch.com/2016/11/28/what-is-an-exact-match-domain-emd-and-why-



does-google-want-to-punish-them/)


What is an exact match domain (EMD) and how can
you safely use one?
(https://searchenginewatch.com/2016/11/28/what-is-
an-exact-match-domain-emd-and-why-does-google-
want-to-punish-them/)
In which we describe what an exact match domain (EMD) looks like, how they can manipulate search rankings and
why you should avoid them.

More News (https://searchenginewatch.com/category/more-news/) SEO
(https://searchenginewatch.com/category/seo/) 28 Nov 16 | Christopher Ratcliﬀ
(https://searchenginewatch.com/author/christopher-ratcliﬀ/)


                   (https://searchenginewatch.com/2016/11/15/ﬁve-tools-to-help-you-build-a-content-focused-seo-



campaign/)


Five tools to help you build a content-focused SEO
campaign
(https://searchenginewatch.com/2016/11/15/ﬁve-
tools-to-help-you-build-a-content-focused-seo-
campaign/)
Over the past decade, SEO has become an extremely viable marketing outlet that results in more qualiﬁed leads and
ultimately, more customers.

Content (https://searchenginewatch.com/category/content/) SEO (https://searchenginewatch.com/category/seo/) 15
Nov 16 | Rohan Ayyar (https://searchenginewatch.com/author/rohan-ayyar/)

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   So in 2017 will SEO be more about click through rates and dwell time rather than onpage and backlinks?

   6 SEO Experiments That Will Blow Your Mind (https://searchenginewatch.com/2016/12/13/6-seo-experiments-
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   I have no word to appreciate you. Want say only Tremendous!!! Keep it up.
5 Advanced SEO Strategies for Inbound Experts (https://searchenginewatch.com/sew/how-to/2407579/5-
advanced-seo-strategies-for-inbound-experts) · 13 hours ago (https://searchenginewatch.com/sew/how-
to/2407579/5-advanced-seo-strategies-for-inbound-experts#comment-3053030714)



                (https://disqus.com/by/john_Halfacre/) John Halfacre (https://disqus.com/by/john_Halfacre/)



Google has been busted many times for using bots in their advertising programs. I actually know of people that
have software that proves that about 90% of your paid adwords traﬃc would qualify as click fraud. Meaning not
what you were attempting to purchase. Example might be...

Fake YouTube Views Still Monetized by Google (https://searchenginewatch.com/sew/news/2427313/fake-
youtube-views-still-monetized-by-google) · 17 hours ago
(https://searchenginewatch.com/sew/news/2427313/fake-youtube-views-still-monetized-by-google#comment-
3052821332)



                (https://disqus.com/by/seotechniques/) seo techniques (https://disqus.com/by/seotechniques/)



Hi there Christopher, this is such a detailed post about meta description. I really appreciate it

How to write meta descriptions for SEO (with good and bad examples)
(https://searchenginewatch.com/2016/05/26/how-to-write-meta-descriptions-for-seo-with-good-and-bad-
examples/) · 1 day ago (https://searchenginewatch.com/2016/05/26/how-to-write-meta-descriptions-for-seo-
with-good-and-bad-examples/#comment-3052082147)



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Cool collection, 2-3 of the tools I used, but most of them are bizzare

21 Best FREE SEO Tools for On-Page Optimization (https://searchenginewatch.com/sew/opinion/2303494/21-
best-free-seo-tools-for-on-page-optimization) · 1 day ago
(https://searchenginewatch.com/sew/opinion/2303494/21-best-free-seo-tools-for-on-page-
optimization#comment-3052077487)



                (https://disqus.com/by/enextconsultants/) EnExT Consultants



(https://disqus.com/by/enextconsultants/)
WOW great article! Didnt realize that the top spot only gets a CTR of 22% that's nuts!

6 SEO Experiments That Will Blow Your Mind (https://searchenginewatch.com/2016/12/13/6-seo-experiments-
that-will-blow-your-mind/) · 1 day ago (https://searchenginewatch.com/2016/12/13/6-seo-experiments-that-will-
blow-your-mind/#comment-3051961979)
                 (https://disqus.com/by/enextconsultants/) EnExT Consultants



(https://disqus.com/by/enextconsultants/)
Awesome post! I agree about blogs creating that human factor for your site. Really helps you get to know the
company before reaching out to them. Thanks for the time you put into this article!

Is blogging still key to search engine ranking? (https://searchenginewatch.com/2016/03/04/is-blogging-still-key-
to-search-engine-ranking/) · 1 day ago (https://searchenginewatch.com/2016/03/04/is-blogging-still-key-to-
search-engine-ranking/#comment-3051940274)



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Thank you for a good article. The answer to the premise / headline is in fact no. More content means more
visits, means more visits without conversions. However - more content certainly can improve your revenue. But
since the conversions rate is calculated on sales / sessions...

Can Content Improve Your Conversion Rate? (https://searchenginewatch.com/2016/12/13/can-content-
improve-your-conversion-rate/) · 1 day ago (https://searchenginewatch.com/2016/12/13/can-content-improve-
your-conversion-rate/#comment-3051747896)



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(https://disqus.com/by/quickseoanalysistool/)
EMD is mostly used by the events bloggers. Those who are just creating links on the target keywords and their
target keywords is also appears in the domain name. But if you are working on EMD in a right way and focus on
the long term blog it gives you a better result as...

What is an exact match domain (EMD) and why does Google want to punish them?
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domain-emd-and-why-does-google-want-to-punish-them/#comment-3051681935)



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very useful article :)

How to Use Blog Commenting to Get Valuable Backlinks and Traﬃc (https://searchenginewatch.com/sew/how-
to/2069226/how-use-blog-commenting-get-valuable-backlinks-traﬃc) · 1 day ago
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traﬃc#comment-3051317844)
                (https://disqus.com/by/pertaminasolusi/) ahmad sauki (https://disqus.com/by/pertaminasolusi/)



This seo guide, actually we usually hear, but sometimes we still often forget and we ignore, thanks for the tips

SEO basics: 22 essentials you need for optimizing your site (https://aafd.contentive.com/hrleader/?p=56641) · 2
days ago (https://aafd.contentive.com/hrleader/?p=56641#comment-3049679551)



                (https://disqus.com/by/petersendesignstudiosdevgu/) Petersen Design Studios “DEVgu



(https://disqus.com/by/petersendesignstudiosdevgu/)
really nice article, i plan on sharing, if not already mentioned, for #9 i like to setup the shareable <embed> in an
<iframe> format. From my understanding, google and some other SE have trouble indexing iframes, so, if
someone else decides to embed your video, when google...

10 Video SEO Tips That Can Truly Impact Your Rankings (https://searchenginewatch.com/sew/how-
to/2343365/10-video-seo-tips-that-can-truly-impact-your-rankings) · 2 days ago
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rankings#comment-3049563800)



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GOOGLE IS A MONOPOLIST!!!
ALL MONOPOLIST ARE DICTATORIAL!!!!

THE GOVERNMENT SHOULD BREAK UP GOOGLE!!

Say goodbye to Google: 14 alternative search engines (https://searchenginewatch.com/2016/02/25/say-
goodbye-to-google-14-alternative-search-engines/) · 2 days ago
(https://searchenginewatch.com/2016/02/25/say-goodbye-to-google-14-alternative-search-engines/#comment-
3049453209)



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Awesome list of tools here. Some of them like DrumUp, Leadfeeder and Hatchbuck look aﬀordable for even the
smallest businesses. With so many costs, I'm always looking for solutions that are also not too expensive.

Five powerful lead generation and sales prospecting tools for small businesses
(https://searchenginewatch.com/2016/11/29/ﬁve-powerful-lead-generation-and-sales-prospecting-tools-for-
small-businesses/) · 2 days ago (https://searchenginewatch.com/2016/11/29/ﬁve-powerful-lead-generation-
and-sales-prospecting-tools-for-small-businesses/#comment-3049324896)
               (https://disqus.com/by/frederickkarl/) Frederick Karl (https://disqus.com/by/frederickkarl/)



What happens when your name is a keyword?

Matt Cutts on Blog Comments, Links & Spam: Use Your Name, Not Keywords
(https://searchenginewatch.com/sew/news/2307497/matt-cutts-on-blog-comments-links-spam-use-your-
name-not-keywords) · 3 days ago (https://searchenginewatch.com/sew/news/2307497/matt-cutts-on-blog-
comments-links-spam-use-your-name-not-keywords#comment-3048644900)



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(https://disqus.com/by/disqus_mgOFePUkSh/)
i'm starting a youtube channel and i was looking for a way to get myself more out there. i'm so glad i found this
article. thanks for all the tips! incoming lengthy descriptions!!

5 Advanced YouTube SEO Tactics to Drive More Traﬃc to Your Videos & Website
(https://searchenginewatch.com/sew/how-to/2340726/5-advanced-youtube-seo-tactics-to-drive-more-traﬃc-
to-your-videos-website) · 3 days ago (https://searchenginewatch.com/sew/how-to/2340726/5-advanced-
youtube-seo-tactics-to-drive-more-traﬃc-to-your-videos-website#comment-3047964067)



               (https://disqus.com/by/nicoliredmayne/) Nicoli Redmayne



(https://disqus.com/by/nicoliredmayne/)
This Time it is Absolutely Amazing , Thanks , :)

Five most interesting search marketing news stories of the week
(https://searchenginewatch.com/2016/12/09/ﬁve-most-interesting-search-marketing-news-stories-of-the-week-
7/) · 3 days ago (https://searchenginewatch.com/2016/12/09/ﬁve-most-interesting-search-marketing-news-
stories-of-the-week-7/#comment-3047844927)



               (https://disqus.com/by/seotechniques/) seo techniques (https://disqus.com/by/seotechniques/)



I don't think that it's safe to start with PBN nowadays.

The Private Blog Network Purge – Are You at Risk? (https://searchenginewatch.com/sew/how-to/2374165/the-
private-blog-network-purge-are-you-at-risk) · 4 days ago (https://searchenginewatch.com/sew/how-
to/2374165/the-private-blog-network-purge-are-you-at-risk#comment-3046673914)



               (https://disqus.com/by/seotechniques/) seo techniques (https://disqus.com/by/seotechniques/)
wow thanks for this brian

5 Advanced YouTube SEO Tactics to Drive More Traﬃc to Your Videos & Website
(https://searchenginewatch.com/sew/how-to/2340726/5-advanced-youtube-seo-tactics-to-drive-more-traﬃc-
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youtube-seo-tactics-to-drive-more-traﬃc-to-your-videos-website#comment-3045595528)



                (https://disqus.com/by/seotechniques/) seo techniques (https://disqus.com/by/seotechniques/)



Great article

Guide to Google ranking factors – Part 10: backlinks (https://searchenginewatch.com/2016/11/07/guide-to-
google-ranking-factors-part-10-backlinks/) · 5 days ago (https://searchenginewatch.com/2016/11/07/guide-to-
google-ranking-factors-part-10-backlinks/#comment-3045309433)



                (https://disqus.com/by/matthewbeaulieu/) Matthew Beaulieu



(https://disqus.com/by/matthewbeaulieu/)
During Book Club I learned that emojis are a mineﬁeld when texting. I fear them more than clowns now..

The Rise of Emoji and Google’s Mobile-First Movement (https://searchenginewatch.com/2016/12/05/the-rise-of-
emoji-and-googles-mobile-ﬁrst-movement/) · 5 days ago (https://searchenginewatch.com/2016/12/05/the-rise-
of-emoji-and-googles-mobile-ﬁrst-movement/#comment-3044929170)



                (https://disqus.com/by/anthonyacker/) Wheat and Fire Pizza Catering



(https://disqus.com/by/anthonyacker/)
So you are trying to say that google has no idea who or what is clicking and searching in the SERPS and where
they go and how they come back without an analytics header reference? That is very naive on your part. Lets
phrase that another way so since google can not track...

Do bounce rates aﬀect a site’s search engine ranking? (https://searchenginewatch.com/2016/05/04/do-bounce-
rates-aﬀect-a-sites-search-engine-ranking/) · 6 days ago (https://searchenginewatch.com/2016/05/04/do-
bounce-rates-aﬀect-a-sites-search-engine-ranking/#comment-3044225502)



                (https://disqus.com/by/disqus_UHWi0y1Bfc/) Susan Moeller



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Really great post! Thanks. I think it's an exciting time for Inﬂuencer marketing--hopefully we are ﬁnished with the
awkward adolescent phase, and can move into a savvy and eﬀective stage. One thought: I don't think the goal
should be to create authenticity as much as to be...
  Inﬂuencer marketing: the strides we’ve made in 2016 (https://searchenginewatch.com/2016/12/08/inﬂuencer-
  marketing-the-strides-weve-made-in-2016/) · 6 days ago
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  3044003381)



                 (https://disqus.com/by/cybernextio/) Jason S (https://disqus.com/by/cybernextio/)



  What about using name with the keywords like Mark Web designer :D??

  Matt Cutts on Blog Comments, Links & Spam: Use Your Name, Not Keywords
  (https://searchenginewatch.com/sew/news/2307497/matt-cutts-on-blog-comments-links-spam-use-your-
  name-not-keywords) · 6 days ago (https://searchenginewatch.com/sew/news/2307497/matt-cutts-on-blog-
  comments-links-spam-use-your-name-not-keywords#comment-3043765410)



                 (https://disqus.com/by/wwwcalgarywebdesignca/) Jeﬀ - Advance Web Solutions



  (https://disqus.com/by/wwwcalgarywebdesignca/)
  2017 really doesn't look all that diﬀerent from 2016 based on this article does it? That's probably a good thing
  though Google doesn't need to make it any more diﬃcult for people who work in the industry.

  Preparing for SEO in 2017: yes it’s that time already (https://searchenginewatch.com/2016/08/04/preparing-for-
  seo-in-2017-yes-its-that-time-already/) · 6 days ago (https://searchenginewatch.com/2016/08/04/preparing-for-
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engines/)


Say goodbye to Google: 14 alternative search engines
(https://searchenginewatch.com/2016/02/25/say-goodbye-to-
google-14-alternative-search-engines/)
Say goodbye to Google with these 14 alternative search engines, covering everything from information, images,
videos, facts and stats. Oh and Gifs.
                    (https://searchenginewatch.com/2016/05/16/how-to-write-meta-title-tags-for-seo-with-good-and-


bad-examples/)


How to write meta title tags for SEO (with good and bad examples)
(https://searchenginewatch.com/2016/05/16/how-to-write-meta-
title-tags-for-seo-with-good-and-bad-examples/)
What is a title tag? How do you write one? Why are title tags important? Do they actually help with search engine
optimisation?



                    (https://searchenginewatch.com/2016/03/01/going-over-to-the-duck-side-a-week-with-


duckduckgo/)


Going over to the duck side: a week using DuckDuckGo
(https://searchenginewatch.com/2016/03/01/going-over-to-the-
duck-side-a-week-with-duckduckgo/)
I’ve heard about DuckDuckGo a few times over the years, mostly as a name uttered in hushed whispers behind closed
doors – “You don’t have to use Google. There is another way.”



                    (https://searchenginewatch.com/2016/01/21/seo-basics-22-essentials-you-need-for-optimizing-


your-site/)


SEO basics: 22 essentials you need for optimizing your site
(https://searchenginewatch.com/2016/01/21/seo-basics-22-
essentials-you-need-for-optimizing-your-site/)
Here we’ll take a look at the basic things you need to know in regards to search engine optimisation, a discipline that
everyone in your organisation should at least be aware of, if not have a decent technical understanding.


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